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16
                                    UNITED STATES DISTRICT COURT
17
                              NORTHERN DISTRICT OF CALIFORNIA
18
                                         OAKLAND DIVISION
19
     IN RE COLLEGE ATHLETE NIL                         Case No. 4:20-cv-03919-CW
20
     LITIGATION
21                                                     PLAINTIFFS’ SUPPLEMENTAL REPLY
                                                       SUBMISSION IN SUPPORT OF FINAL
22                                                     APPROVAL OF CLASS ACTION
                                                       SETTLEMENT
23
                                                       Judge: Hon. Claudia Wilken
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 1          Plaintiffs respectfully submit that the Settlement Agreement warrants immediate final

 2   approval. Nearly two hundred thousand class members are anxiously waiting to finalize their

 3   athletics plans for next year and to reap the vast new benefits that the House Settlement will provide.

 4   As Plaintiffs previously demonstrated, the parties heeded the Court’s ruling and amended the

 5   Settlement to guarantee that any athlete who would have lost their roster spot (or a promised roster

 6   spot) for the 2025-26 academic year due to the immediate implementation of roster limits will be

 7   exempt from any roster limits, at any Division I institution, for the duration of their college

 8   athletics careers. See Pls.’ Suppl. Submission at 2–3 (ECF No. 958); Fourth Am. Settlement

 9   Agreement at App. A, Art. 1, § 1(j); App. A, Art. 4, § 1 (ECF No. 958-1). The agreed-upon

10   exemptions are mandatory—no Designated Student-Athlete may lose a position on a team because

11   of roster limits. Rather, teams simply retain their pre-existing discretion to decide who to include.

12          The remaining objections demand changes that go far beyond addressing “the immediate

13   implementation of the roster limits provisions.” Order Regarding Mot. for Final Approval of

14   Settlement Agreement at 2, 4 (ECF No. 948). Objectors instead seek to dictate schools’ roster

15   decisions in a manner that has never existed in college sports and is completely untethered to any

16   antitrust claims or viable antitrust injunctive relief. Specifically, the Menke-Weidenbach Objectors

17   summarize the Objectors’ complaints about the revised Settlement as four purported “defects”: (1)

18   it “does not restore student-athletes to the roster spots they lost because of the settlement’s roster

19   limits;” (2) it “does not restore the status quo for student-athletes who transferred to new schools

20   after being cut;” (3) it “allows member institutions total discretion to determine which student

21   athletes were cut because of the roster limits;” and (4) it “releases all claims related to

22   implementation of the roster limits, including damages claims for any harm resulting from

23   Defendants’ premature implementation of the roster caps.” Menke-Weidenbach Objectors’ Resp.

24   to Fourth Am. Settlement Agreement at 1–2 (ECF No. 961) (“Menke Objection”). The Reathaford

25   and Berg-Lykins Objector filings are more of the same, except the Berg-Lykins Objectors also

26   demand a “formal grievance system” and “[a]n Ombuds Program.” Resp. to Parties’ Fourth Am.

27   Settlement Agreement on Behalf of Objectors Berg, Lykins and Other Anonymous Athletes at 5

28   (ECF No. 966) (“Berg-Lykins Objection”); see Resp. to Parties’ May 7, 2025 Proposal re: Mot. to

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 1   Approve Class Action Settlement (ECF No. 965) (“Reathaford Objection”). Each criticism is either

 2   demonstrably incorrect, untethered to the roster limit issues the Court identified, or extends well

 3   beyond what could be achieved even in a successful litigation.

 4           First, the Settlement now eliminates the immediate implementation of roster limits as a

 5   reason for any athlete being cut from his or her team. In other words, roster limits will not be the

 6   reason that any athlete is removed from a roster for the 2025-26 academic year. Stated in the

 7   alternative, schools have no discretion to cut a Designated Student-Athlete from a team because of

 8   roster limits. All athletes will continue to have the ability to compete for a roster spot plus the added

 9   opportunity to earn the myriad new forms of compensation and benefits that the Settlement

10   permits. 1 That is a fair and equitable solution applicable to all class members, which ensures that

11   all class members will not merely be unharmed by the Settlement (including roster limits)—they

12   will benefit. Cf. Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338 (2011). 2 Put simply, the roster limit

13   provisions in the Settlement thus do not take away something (room to earn a roster spot) that

14   certain class members already had.

15           Yet Objectors now move the goal posts and seek something they never had and that was

16   never available to them: a guaranteed roster spot. See Reathaford Objection at 5 (arguing that the

17   Settlement should “force coaches to grandfather current and incoming athletes”) (emphasis in

18   original); Berg-Lykins Objection at 2 (contending there must be “guaranteed restoration of [ ]

19

20       1
           For example, the Yurasek Objection (ECF No. 956), filed by a walk-on basketball player on
     Loyola University Chicago’s 2024-25 team, observes that two of his three walk-on teammates now
21   have scholarships for the upcoming season. Meanwhile, Yurasek, who wrote the Court to “express
     his concerns about the potential loss of his roster spot due to roster size limitations imposed by the
22   House v. NCAA settlement,” will now be a Designated Student-Athlete exempt from roster limits
     for the duration of his college basketball career. These three class members are thus each in a better
23   position with the Settlement than without it: none will be cut due to roster limits, two now have
     scholarships, and the third (Yurasek) has the opportunity to compete for a scholarship and the many
24   other benefits afforded under the Settlement.
         2
25         The Berg-Lykins Objection (at 2) mischaracterizes Dukes as dictating that “any resulting harm
     to a member of the Injunctive Relief Settlement Class prevents the Court from approving the
26   proposed settlement.” (emphasis removed). But Dukes merely reinforces the unremarkable
     proposition that Rule 23(b)(2) “does not authorize class certification when each individual class
27   member would be entitled to a different injunction.” 564 U.S. at 360 (emphasis in original). That is
     not a concern here. But even accepting the Berg-Lykins Objection’s reading of Dukes, the revised
28   Settlement now guarantees that any athlete who would have lost a roster spot due to the immediate
     implementation of roster limits will be exempt from roster limits and thus not harmed by them.

                                                      -2-
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 1   roster spots”) (emphasis in original). 3 To Plaintiffs’ knowledge, no school has ever been required

 2   to place specific athletes on its roster. In fact, even athletes with guaranteed scholarships must still

 3   compete to earn a place on the team.

 4          The Reathaford Objection (at 2) goes so far as to insist that “roster limits remain

 5   mandatory[,] but grandfathering is optional.” Again, that is false. Exempting Designated Student-

 6   Athletes from roster limits is mandatory for their entire college athletics career. What is (and has

 7   always been) optional is whether a coach wants an athlete on the team. Nor is that distinction

 8   “meaningless to athletes.” Id. at 3. As the Reathaford Objection must concede (at 5 n.6), in just the

 9   six days since the revisions to the Settlement were announced, schools are already committing to

10   honor existing roster spots and to permit athletes who were cut to return. 4 The Settlement of class

11   members’ antitrust injunctive relief claims thus achieves the same type of relief that could be

12   obtained at a trial: less restrictive alternative rules and enhanced competition. What the Settlement

13   does not do, just like a trial verdict could not do, is dictate market outcomes. Objectors’ overreach

14   is not a reason to further delay or deny final approval.

15          Second, although any athlete who transferred to a new school due to roster limits will be

16   permitted to transfer back to their original school, Objectors now demand that their original schools

17   be “require[d]” to accept them. Menke Objection at 1; see also Reathaford Objection at 6 (seeking

18   “reinstatement of any athlete . . . who . . . transferred to another Member Institution due to roster

19   limits”). This is not a valid objection for the reasons just explained. The changes to the Settlement

20   ensure that neither roster limits (which do not apply to Designated Student-Athletes) nor NCAA

21   rules (e.g., any transfer portal restrictions) will keep a Designated Student-Athlete who transferred

22   from returning to his or her former team. But that team still has discretion about its members based

23   on other factors (e.g., performance). In all events, the Settlement provides additional protections

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25      3
           The Menke Objection makes the conclusory assertion (at 2 n.1) that they “do not seek
     ‘guaranteed’ roster spots,” but that is exactly what they seek by demanding that “[s]tudent-athletes
26   who had been cut to meet roster caps would be restored to their roster spot.” Id. at 2. In any event,
     the Reathaford Objection and Berg-Lykins Objection unabashedly seek guaranteed roster spots.
27   See discussion in text, supra.
         4
28            See Ross Dellenger (@RossDellenger), X (May 8, 2025, 9:31 AM),
     https://x.com/RossDellenger/status/1920471643933094313.

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 1   for Designated Student-Athletes who transferred by exempting them from roster limits at any

 2   school for the rest of their college athletics careers.

 3           Third, Objectors are simply mistaken to contend that schools will have “total discretion to

 4   determine which student-athletes were cut because of the roster limits.” Menke Objection at 1.

 5   Defendants have contractually committed that member institutions act in “good faith” to identify

 6   the Designated Student-Athletes who will be exempt from roster limits. Fourth Am. Settlement

 7   Agreement at App. A, Art. 4, § 1. Each school’s list of Designated Student-Athletes will be

 8   provided to Class Counsel, and we will make that information available to class members. If Class

 9   Counsel believes that a school has wrongfully omitted an athlete from its list of Designated Student-

10   Athletes, Class Counsel will have the power to investigate and enforce the school’s obligations

11   under the Settlement Agreement. Id. ¶ 48 (“Class Counsel shall have the authority to exclusively

12   monitor and enforce the Injunctive Relief Settlement throughout the Term as provided therein.”);

13   see also id. at App. A, Art. 6, §§ 1–3.

14           Fourth, Objectors are also wrong to assert that the Settlement Agreement releases damages

15   claims arising out of any allegedly wrongful conduct in connection with schools’ preparations to

16   implement roster limits for the 2025-26 academic year. Menke Objection at 2. The Settlement does

17   not—and never did—result in class members releasing any such damages claims. Members of the

18   Damages Settlement Classes (including athletes on rosters during the 2024-25 academic year or

19   earlier) only release damages claims relating to: (1) “previously existing NCAA and conference

20   rules regarding monies and benefits that may be provided to student-athletes;” and (2) “limitations

21   on the numbers of scholarships allowed or permitted in any sport.” Fourth Am. Settlement

22   Agreement ¶¶ 1(pp), 23–25 (emphases added). The Settlement’s roster limit provisions are not

23   “previously existing NCAA [or] conference rules” or “limitations on the number of scholarships

24   allowed or permitted.” Thus, members of the Damages Settlement Classes will not release any

25   damages claims relating to any allegedly wrongful conduct in connection with schools’ preparation

26   to implement future roster limits. And any incoming athlete who was not on a Division I roster as

27   of the 2024-25 academic year is not a member of the Damages Settlement Classes and, thus, will

28   not release any damages claims at all. Id. ¶ 1(o).

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 1          Finally, the Berg-Lykins Objection (at 5) seeks to impose a new “grievance system” and an

 2   “Ombuds Program” that the Objectors claim will “start to restore trust.” As is customary in class

 3   action settlements, the Settlement authorizes Class Counsel to enforce its terms. Fourth Am.

 4   Settlement Agreement ¶ 48. The Objection offers no justification—other than “[d]istrust”—to

 5   impose additional grievance mechanisms. Class Counsel’s obligation to protect class members and

 6   enforce the Settlement is sufficient.

 7          Class Counsel secured a historic settlement and, heeding the Court’s ruling, obtained

 8   substantial additional concessions from Defendants to ensure that no class member will be harmed

 9   by the immediate implementation of roster limits for the 2025-26 academic year. The Objectors’

10   purported “defects” in these additional concessions are factually and legally inapposite. Most

11   fundamentally, Objectors have lost sight of the fact that “[t]he issue before the Court is whether

12   “the settlement taken as a whole, rather than the individual component parts,” is fair and

13   reasonable. Staton v. Boeing Co., 327 F.3d 938, 952 (9th Cir. 2003) (quoting Hanlon v. Chrysler

14   Corp., 150 F.3d 1011, 1026 (9th Cir. 1998)) (emphasis added). Plaintiffs respectfully submit that

15   the Fourth Amended Settlement Agreement more than satisfies that standard. We urge the Court to

16   quickly grant final approval of the Settlements in House and Hubbard so that all class members—

17   including those who will now be exempt from roster limits—can enjoy the historic benefits of the

18   Settlements. 5

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22         Although the Court did not invite additional briefing on the issue of whether the Settlement
     should be stayed pending appeal, the Reathaford Objection (at 6) nonetheless “again request[ed]
23   that [the Court] stay the implementation of the injunction until the resolution of all appeals.” In
     their haste to support their uninvited argument, the Reathaford Objection misquotes Steve
24   Berman’s statement on a recent podcast. What Mr. Berman actually said is the primary reason that
     the parties agreed not to stay the injunctive relief portion of the Settlement “is because the schools
25   did not want to be in limbo.” SportsWise: A Podcast About Sports and the Law, Ep. 84: The Latest
     on the Twists and Turns in the House v. NCAA Settlement with Co-Lead Counsel, Steve Berman, at
26   12:22–56 (May 10, 2025), https://www.sportswisepod.com/ep-84-the-latest-on-the-twists-and-
     turns-in-the-house-v-ncaa-settlement-with-co-lead-counsel-ste/. Mr. Berman also stated, in a part
27   of the quote the Reathaford Objection uses but misleadingly omits with ellipses, that he wanted to
     demonstrate to the Court of Appeals that the parties were “so confident that [they were] going to
28   uphold this, that we’ve already put it in place,” and as in another case, show that the relief was
     working well. Id.

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 1                ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)

 2          Pursuant to Civil Local Rule 5-1(i)(3), the filer of this document attests that concurrence in

 3   the filing of this document has been obtained from the signatories above.

 4                                                    By: /s/ Steve W. Berman
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     PLS.’ SUPPL. REPLY IN SUPP. OF FINAL SETTLEMENT APPROVAL                     Case No. 4:20-cv-03919-CW
